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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
                                          :
ROBERT WHARTON,                           :                CIVIL ACTION
                                          :
                  Petitioner,             :                No. 01-6049
                                          :
            v.                            :                THIS IS A CAPITAL CASE
                                          :
DONALD T. VAUGHN, et al.                  :
                                          :
                  Respondents.            :
_________________________________________ :


                                           ORDER


       AND NOW, this 4th day of March, 2019, upon consideration of the Philadelphia District

Attorney’s Office’s “Notice of Concession of Penalty Phase Relief” (Doc. No. 155), and the

parties’ “Notice of Joint Filing of Proposed Order” (Doc. No. 156), and for the reasons set forth

in the accompanying Memorandum Opinion, it is ORDERED that the parties’ request that I

adopt the Proposed Order is DENIED.

       It is further ORDERED that each party may file, within 30 days of the date of this

Order, a brief addressing the issues raised in the accompanying Memorandum Opinion,

specifically: (1) whether I have the authority and/or the obligation to grant habeas relief to

Petitioner based solely on the District Attorney’s concession of the remaining habeas claim, or

whether I must independently review, and determine the merits of, that now-conceded claim; and

(2) if I must make an independent determination on the merits, whether that is possible on the

current record, without conducting the evidentiary hearing as directed by the United States Court

of Appeals for the Third Circuit.
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                                 BY THE COURT:


                                 /s/ Mitchell S. Goldberg
                                 __________________________
                                 Mitchell S. Goldberg, J.
